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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                              Chapter 11

RITCHIE RISK-LINKED STRATEGIES,                     Case No. 18-11555 (KJC)
L.L.C.,
                                                    Related Docket No. 49
                             Debtor.


   NOTICE OF TELEPHONIC SCHEDULING CONFERENCE SCHEDULED FOR
 AUGUST 16, 2018 AT 2:00 P.M. (ET) BEFORE THE HONORABLE KEVIN J. CAREY

               PLEASE TAKE NOTICE that a telephonic scheduling conference on the Motion

of Ritchie CT Opps, LLC, for Expedited Hearing and Shortened Notice Regarding the

Emergency Motion to Seal Huizenga Managers Fund, LLC’s Motion to Dismiss the Case

Pursuant to 11 U.S.C. §§ 1112(b) and 305(a) (D.I. 49) has been scheduled for August 16, 2018,

at 2:00 p.m. (ET). All telephonic court appearances must be arranged through CourtCall, LLC

prior to noon on August 16, 2018 (T: 866-582-6878 or F: 866-533-2946).

Dated: August 15, 2018
       Wilmington, Delaware


                                           /s/ Mark L. Desgrosseilliers
                                           Mark L. Desgrosseilliers (Del. Bar No. 4083)
                                           Morgan L. Patterson (Del. Bar No. 5388)
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